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                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

 UNITED STATES OF AMERICA                       §
 ex rel. JOHN N. KRAMER, D.D.S.,                §
                         Relator,               §
                                                § CIVIL ACTION NO. 1:18-cv-373-DRC
 v.                                             §
                                                § Judge Douglas R. Cole
 CDC MARTINS FERRY, LLC, AND                    §
 CDC STEUBENVILLE, LLC,                         §
                   Defendants.                  §

  DEFENDANTS CDC MARTINS FERRY, LLC AND CDC STEUBENVILLE, LLC’S
              MOTION TO FILE DOCUMENTS UNDER SEAL

       Defendants CDC Martins Ferry, LLC and CDC Steubenville, LLC (“Defendants”) hereby

file this motion to file two documents under seal in response to Relator’s Motion to Join Parties

[Doc. 71]. In his Motion to Join Parties, Relator relies heavily on an Asset Purchase Agreement

(“APA”) between Defendants, the two parties proposed to be joined, and other entities.

However, two other agreements between those same parties, a Transition Services Agreement

and a Transition Professional Services Agreement, make clear that Defendants, and not the

proposed parties to be joined, retained responsibility for the dental services alleged in Relator’s

Third Amended Complaint. Defendants believe these documents are necessary for their response

to Relator’s motion and should be read in conjunction with the APA upon which Relator relies.

       As required by the Stipulated Protective Order in this case, Defendants state that the legal

basis for the designation of these documents as “Confidential-Attorneys’ Eyes Only” is that the

two agreements in question contain sensitive information that could cause material competitive

disadvantage to both Defendants and the other parties to the agreements, including agreements

between Defendants and other entities, and materials or items that relate to proprietary

information about the Defendants’ and other parties’ business practices. Specifically, the



MOTION TO FILE UNDER SEAL                                                                             1
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agreements contain proprietary information about the competitive practice of dentistry, including

proprietary information relating to third parties’ business practices and plans.

        As recognized by the Sixth Circuit, agreements like these that themselves contain a

confidentiality obligation, that have been designated as “Confidential” or “Attorneys’ Eyes

Only,” and that contain contractual provisions that one party to the agreement views as providing

it with competitive advantages that would, if revealed publicly, give such advantages to

competitors or future acquisition targets, may be properly filed under seal when offered as an

exhibit or appendix to a motion or legal brief. Ray v. Found. Risk Partners, Corp., No. 22-3387,

2022 U.S. App. LEXIS 25954, [WL] at *3 (6th Cir. Sept. 15, 2022) (citing Ohio Rev. Code

1333.61(D) and State ex rel. The Plain Dealer v. Ohio Dep’t of Ins., 687 N.E.2d 661 (1997)).

        In accordance with Local rule 5.2.1 and the Stipulated Protective Order in this case [Doc. 58],

Defendants therefore move the Court for leave to file the Transition Services Agreement and the

Transition Professional Services Agreement under seal as exhibits to their upcoming response to

Relator’s Motion to Join Parties. Defendants are the “Designating Party” as to the confidentiality of

these agreements under paragraph 11 of the Protective Order. As required by the Protective Order, a

hard copy of the two agreements in question will be provided to chambers, along with a courtesy copy

of this motion and a proposed order granting the requested relief.




MOTION TO FILE UNDER SEAL                                                                               2
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December 22, 2022


                                                                               Respectfully submitted,

                                                                                 /s/ Donald Screen
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                                                                              /s/ Elizabeth K. Stepp
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                                                              ATTORNEYS FOR DEFENDANTS
                                                             CDC MARTINS FERRY, LLC AND
                                                                  CDC STEUBENVILLE, LLC


                                  CERTIFICATE OF SERVICE

I hereby certify that on December 22, 2022, a true and correct copy of the above and foregoing document
was served on all counsel of record through the Court’s electronic filing system.

                                                                                 /s/ Elizabeth K. Stepp
                                                                                     Elizabeth K. Stepp




MOTION TO FILE UNDER SEAL                                                                            3
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       EXHIBIT A
        Unpublished Opinions
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     Neutral
As of: December 21, 2022 8:49 PM Z


                                  Ray v. Found. Risk Partners, Corp.
                                   United States Court of Appeals for the Sixth Circuit
                                                September 15, 2022, Filed
                                                       Nos. 22-3387/3411

Reporter
2022 U.S. App. LEXIS 25954 *
                                                                ORDER
DUANE RAY (No. 22-3387), Plaintiff-Appellee, v.
FOUNDATION RISK PARTNERS, CORPORATION,                          Plaintiff Duane Ray is a former employee of Defendant
Defendant-Appellant, FIFTH THIRD BANK, N.A., dba                Fifth Third Insurance Agency, Inc. ("Fifth Third
Fifth Third Bank, et al., Defendants.DUANE RAY (No.             Insurance"), a wholly owned subsidiary of Defendant
22-3411), Plaintiff-Appellee, v. FIFTH THIRD BANK,              Fifth Third Bank, N.A. (collectively, "Fifth Third"). After
N.A., dba Fifth Third Bank, et al., Defendants-                 Defendant Foundation Risk Partners, Corporation
Appellants, FOUNDATION RISK PARTNERS,                           ("FRP") purchased substantially all the assets of Fifth
CORPORATION, Defendant.                                         Third Insurance and its affiliates in 2020, Ray declined
                                                                continued employment with FRP. Ray later filed this
Prior History: Ray v. Fifth Third Bank, N.A., 2022 U.S.         lawsuit to challenge a restrictive covenant that FRP
Dist. LEXIS 59391, 2022 WL 974341 (S.D. Ohio, Mar.              seeks to enforce. In these related appeals from the
31, 2022)                                                       district court's order denying a preliminary [*2]
                                                                injunction and vacating a temporary restraining order,
Core Terms                                                      FRP and Fifth Third each move for leave to file an
                                                                appendix to their appellant briefs under seal. Pursuant
seal, confidential, public access, trade secret,                to Federal Rule of Appellate Procedure 27(c), a single
preliminary injunction, district court, acquisition,            judge may rule on the motions.
attachments, advantages, provisions, appendix,
includes, parties, records, merits, email                       "Documents sealed in the lower court . . . must continue
                                                                to be filed under seal in this court." 6 Cir. R. 25(h)(5).
Counsel: [*1] For DUANE RAY (22-3387, 22-3411),                 Otherwise, "[d]ocuments filed in this Court generally
Plaintiff - Appellee: Randall S. Strause, Courtney Lauren       must be made available to the public," United States v.
Graham, Strause Law Group, Louisville, KY; Louis C.             Hatcher, 698 F.3d 936, 937 (6th Cir. 2012) (order), and
Schneider, Thomas Law, Cincinnati, OH.                          will be sealed only if they "justify court-imposed
For FOUNDATION RISK PARTNERS,                                   secrecy," Procter & Gamble Co. v. Bankers Trust Co.,
CORPORATION, Defendant - Appellant (22-3387):                   78 F.3d 219, 227 (6th Cir. 1996). "[C]ommon sense tells
Kevin E. Griffith, Chad J. Kaldor, Andrew Klaben-               us that the greater the motivation a corporation has to
Finegold, Littler Mendelson, Columbus, OH.                      shield its operations, the greater the public's need to
                                                                know." Brown & Williamson Tobacco Corp. v. FTC, 710
For FIFTH THIRD BANK, N.A., dba: Fifth Third Bank,              F.2d 1165, 1180 (6th Cir. 1983). "In such cases, a court
FIFTH THIRD INSURANCE AGENCY, INC., dba: Fifth                  should not seal records unless public access would
Third Insurance, Defendants - Appellants (22-3411): R.          reveal legitimate trade secrets, a recognized exception
Kenyon Meyer, Dinsmore & Shohl, Louisville, KY;                 to the right of public access to judicial records." Id.; see
Michael A. Xavier, Dinsmore & Shohl, Denver, CO.                Shane Grp., Inc. v. Blue Cross Blue Shield of Mich., 825
                                                                F.3d 299, 308 (6th Cir. 2016).
Judges: Before: DAVIS, Circuit Judge.
                                                                The tendered appendices consist of the 2020 Asset
Opinion                                                         Purchase Agreement ("APA") between FRP and Fifth
                                                                Third Insurance. The APA itself contains a
                                                                confidentiality obligation between the signatories and
                                                                has always been designated as "Confidential" or

                                                        Elizabeth Stepp
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"Attorneys' Eyes Only" in this case, pursuant to the
protective order entered below. The APA includes
several contractual provisions that FRP has [*3]
developed and negotiated over time in various asset
purchases and acquisitions, which are unique to its
business needs and goals. FRP views many of the
provisions in the APA as providing competitive
advantages, which if revealed publicly, would give such
advantages to its competitors and future acquisition
targets. The APA also contains tables, attachments and
schedules with highly confidential pricing and other
information. Fifth Third's appendix also includes an
email transmitting the APA to the district court. As the
district court explained, "the APA was not admitted as
physical evidence during the Preliminary Injunction
hearing" but "the parties stipulated to its authenticity and
admissibility, and agreed that counsel would email a
copy of the APA and associated attachments to
chambers after the hearing for inclusion in the record[.]"
FRP and Fifth Third ask this court to similarly restrict
public access, asserting that the APA is replete with
confidential business information and trade secrets as
defined under Ohio law. Despite the unusual procedure
employed below, the court is satisfied that the APA
contains legitimate trade secrets or proprietary and
confidential information [*4] as defined by Ohio law.
See Ohio Rev. Code § 1333.61(D); State ex rel. The
Plain Dealer v. Ohio Dep't of Ins., 80 Ohio St.3d 513,
524-25, 1997- Ohio 75, 687 N.E.2d 661 (1997).

Upon consideration, the motions for leave to file the
appendices under seal are GRANTED without prejudice
to reconsideration by the merits panel. See Carter v.
Welles-Bowen Realty, Inc., 628 F.3d 790, 791 (6th Cir.
2010) (order). The parties are cautioned that this order
does not seal the opinion to be issued by the merits
panel. A separate motion is required to request sealing
all or part of the opinion. See 6 Cir. R. 25(h)(1).


  End of Document




                                                     Elizabeth Stepp
